        Case 1:19-cr-00125-ABJ Document 25-1 Filed 05/14/19 Page 1 of 20

                                                     U.S. Department of Justice

                                                     Jessie K. Liu
                                                     United States Attorney

                                                     District of Columbia

                                                     Judiciary Center
                                                     555 Fourth St., N.W.
                                                     Washington, D.C. 20530


                                                     April 15, 2019

Via Hand Delivery

William W. Taylor, III
William J. Murphy
Zuckerman Spaeder LLP
1800 M Street NW, Suite 1000, North Tower
Washington, DC 20036-5807

       Re:      United States v. Gregory B. Craig, 19-cr-00125 (ABJ)

Dear Counsel:

       Enclosed with this correspondence is the United States’ first post-indictment discovery
production pursuant to Rule 16(c). In compliance with our discovery obligations under Rule 16
and the Federal Rules Of Criminal Procedure, please find enclosed two thumb drives containing
Skadden productions (Bates stamped USA-REL-0000001 – 0340524), emails from the FARA Unit
(USA-0000001 – 0007310), and FBI FD-302s and related notes from interviews (USA-0007311
– 0008298). The password for the drives is:           .

       These materials are subject to the Protective Order issued by the Court on April 15, 2019.
In any subsequent discovery production(s), the United States will continue to comply with its
discovery obligations pursuant to Rule 16 of the Federal Rules of Criminal Procedure, the Jencks
Act (18 U.S.C. § 3500 and Rule 26.2), and discovery-related case law.

       Because you have requested discovery in this matter, the United States hereby requests
reciprocal discovery, including that the defendant produce all information and items countenanced
by Rules 16(b) and 26.2 of the Federal Rules of Criminal Procedure; provide notice, consistent
with Rules 12.1, 12.2, and 12.3 of any of planned defenses; and disclose any intention to call an
expert witness.
       Case 1:19-cr-00125-ABJ Document 25-1 Filed 05/14/19 Page 2 of 20




      If you have any questions, please do not hesitate to contact us.

                                            Sincerely,

                                            JESSIE K. LIU
                                            United States Attorney


                                    By:                    /s/
                                            Fernando Campoamor Sánchez
                                            Molly Gaston
                                            Assistant United States Attorneys
                                            Jason B.A. McCullough
                                            Trial Attorney, National Security Division

Enclosures




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                                                      U.S. Department of Justice

                                                      Jessie K. Liu
                                                      United States Attorney

                                                      District of Columbia

                                                      Judiciary Center
                                                      555 Fourth St., N.W.
                                                      Washington, D.C. 20530


                                                      April 18, 2019

Via File Tranfer Portal

William W. Taylor, III
William J. Murphy
Zuckerman Spaeder LLP
1800 M Street NW, Suite 1000, North Tower
Washington, DC 20036-5807

       Re:      United States v. Gregory B. Craig, 19-cr-00125 (ABJ)

Dear Counsel:

        Enclosed with this correspondence is an additional post-indictment discovery production
pursuant to Rule 16(c). In compliance with our discovery obligations under Rule 16 and the
Federal Rules Of Criminal Procedure, please find enclosed additional FBI FD-302s (USA-
0007380 – 0007396), interview notes (USA-0008299 – 0008575), and grand jury transcripts with
exhibits (USA-0008576 – 0009878).

       These materials are subject to the Protective Order issued by the Court on April 15, 2019.

       If you have any questions, please do not hesitate to contact us.

                                             Sincerely,

                                             JESSIE K. LIU
                                             United States Attorney

                                     By:                    /s/
                                             Fernando Campoamor Sánchez
                                             Molly Gaston
                                             Assistant United States Attorneys
                                             Jason B.A. McCullough
                                             Trial Attorney, National Security Division

Enclosures
           Case 1:19-cr-00125-ABJ Document 25-1 Filed 05/14/19 Page 4 of 20

                                                      U.S. Department of Justice

                                                      Jessie K. Liu
                                                      United States Attorney

                                                      District of Columbia

                                                      Judiciary Center
                                                      555 Fourth St., N.W.
                                                      Washington, D.C. 20530


                                                      April 22, 2019

Via File Transfer Portal

William W. Taylor, III
William J. Murphy
Zuckerman Spaeder LLP
1800 M Street NW, Suite 1000, North Tower
Washington, DC 20036-5807

       Re:      United States v. Gregory B. Craig, 19-cr-00125 (ABJ)

Dear Counsel:

      In compliance with our discovery obligations under Rule 16 and the Federal Rules Of
Criminal Procedure, please find enclosed additional discovery consisting of the following files.

       -     Previously produced FD-302s and notes from interviews of                 with some
             redactions removed, Bates stamped USA-0009879 – 0009935;
       -     FD-302s and notes for interviews of                               and        , Bates
             stamped USA-0009936 – 0010021;
       -     Additional FARA Unit materials, Bates stamped USA-REL-0340525 – 0340968;
       -     FTI subpoena returns, Bates stamped USA-REL-0340969 – 0368678; and
       -                           voluntary production, Bates stamped USA-REL-0368679 –
             0368683.

       These materials are subject to the Protective Order issued by the Court on April 15, 2019.

       If you have any questions, please do not hesitate to contact us.

                                             Sincerely,

                                             JESSIE K. LIU
                                             United States Attorney
                                     By:                    /s/
                                             Fernando Campoamor Sánchez
                                             Molly Gaston
                                             Assistant United States Attorneys
                                             Jason B.A. McCullough
       Case 1:19-cr-00125-ABJ Document 25-1 Filed 05/14/19 Page 5 of 20



                                    Trial Attorney, National Security Division

Enclosures




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           Case 1:19-cr-00125-ABJ Document 25-1 Filed 05/14/19 Page 6 of 20

                                                     U.S. Department of Justice

                                                     Jessie K. Liu
                                                     United States Attorney

                                                     District of Columbia

                                                     Judiciary Center
                                                     555 Fourth St., N.W.
                                                     Washington, D.C. 20530


                                                     April 23, 2019

Via File Transfer Portal

William W. Taylor, III
William J. Murphy
Zuckerman Spaeder LLP
1800 M Street NW, Suite 1000, North Tower
Washington, DC 20036-5807

       Re:      United States v. Gregory B. Craig, 19-cr-00125 (ABJ)

Dear Counsel:

       In compliance with our discovery obligations under Rule 16 and the Federal Rules of
Criminal Procedure, and your previous discovery request, please find enclosed additional
discovery consisting of the following files.

       -     Transcripts of the 03/26/2019 and 04/09/2019 grand jury testimony of
                       (USA-0010499 – 0010548);
       -     Emails with attachments from Gibson Dunn in response to DOJ requests for documents
             (USA-0010549 – 0011110);
       -     GMAIL Chats between                    and                        (USA-0011111 –
             0011124); and
       -     Black Sea View Limited (               ) documents related to payments to Skadden
             and FTI (USA-0011125 – 0011127).

       These materials are subject to the Protective Order issued by the Court on April 15, 2019.
       Case 1:19-cr-00125-ABJ Document 25-1 Filed 05/14/19 Page 7 of 20




      If you have any questions, please do not hesitate to contact us.

                                            Sincerely,

                                            JESSIE K. LIU
                                            United States Attorney


                                    By:                    /s/
                                            Fernando Campoamor Sánchez
                                            Molly Gaston
                                            Assistant United States Attorneys
                                            Jason B.A. McCullough
                                            Trial Attorney, National Security Division

Enclosures




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           Case 1:19-cr-00125-ABJ Document 25-1 Filed 05/14/19 Page 8 of 20

                                                       U.S. Department of Justice

                                                       Jessie K. Liu
                                                       United States Attorney

                                                       District of Columbia

                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530


                                                       April 26, 2019
Via Courier

William W. Taylor, III
William J. Murphy
Zuckerman Spaeder LLP
1800 M Street NW, Suite 1000, North Tower
Washington, DC 20036-5807

       Re:      United States v. Gregory B. Craig, 19-cr-00125 (ABJ)

Dear Counsel:

        As you requested, please find enclosed a reproduction of the Skadden productions as load-
ready files with metadata (USA-REL-0000001 – 0340524). Also enclosed are the following:

       -     Exhibit binder for the July 10, 2018, interview of                 (USA-0010022 –
             0010492);
       -     Reproduction of notes from the August 15, 2018, interview of                 (USA-
             0011128 – 0011143) (a version of these notes missing page 4 was previously produced
             on April 15, 2019); and
       -     Black Sea View Limited (                ) documents related to payments to FTI (USA-
             0011144 – 0011147).

       These materials are subject to the Protective Order issued by the Court on April 15, 2019.

       If you have any questions, please do not hesitate to contact us.

                                              Sincerely,

                                              JESSIE K. LIU
                                              United States Attorney
                                        By:                  /s/
                                              Fernando Campoamor Sánchez
                                              Molly Gaston
                                              Assistant United States Attorneys
                                              Jason B.A. McCullough
                                              Trial Attorney, National Security Division

Enclosure
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                                                      U.S. Department of Justice

                                                      Jessie K. Liu
                                                      United States Attorney

                                                      District of Columbia


                                                      Judiciary Center
                                                      555 Fourth St., N.W.
                                                      Washington, D.C. 20530


                                                      May 8, 2019

Via Email

Adam Abelson
ZUCKERMAN SPAEDER LLP
1800 M Street NW, Suite 1000
Washington, DC 20036-5807

       Re:     Request for Discovery: United States v. Greg B. Craig, 19-CR-125 (ABJ)

Dear Mr. Abelson:

       We write in response to your letters of May 1 and 6, 2019, as well as some additional
questions you have posed by email.

        Witness interviews notes. For the witnesses identified on your letter of May 1, 2019, we
previously provided those notes on April 18, 2019, as we indicated to you in our email of May 3,
2019. Our intention is to provide you, if available, with the notes of every witness interview. If
you identify specific FBI 302s of witness interviews for which there are no corresponding notes,
please let us know.

        Witness interview exhibits. Copies of documents shown to witnesses during FBI
interviews are generally maintained by the FBI in a file associated with that interview. Many of
those documents are maintained in hard copy form by the FBI, and may need to be copied and
scanned in order to provide the production to you.

       We plan to produce the witness interview exhibits associated with every FBI 302 that we
produced; however, this effort has not been our priority due to the fact that you have received the
302s and most if not all of the referenced documents already. Furthermore, many of the FBI
302s identify the documents used by bates number. If there is a particular document of
importance to you and that you would like us to prioritize, please let us know and we will
undertake to produce that document as soon as possible.

       FTI Privilege Log. We have asked FTI to provide a privilege log for FTI documents,
and we will produce any privilege log provided to the government by FTI.
       Case 1:19-cr-00125-ABJ Document 25-1 Filed 05/14/19 Page 13 of 20



        Skadden Privilege Log. Our understanding is that you received the Skadden privilege
logs from Skadden or their outside counsel, Gibson Dunn, in connection with the matter before
the Chief Judge. If that is not the case, or if we misunderstood your request, please let us know.

         FARA legislative history research. As you know, the government has charged Mr.
Craig with having made false and misleading statements to the FARA Unit in violation of 18
U.S.C. § 1001(a)(1) and 22 U.S.C. § 618(a)(2). The charges relate to submissions by Mr. Craig
to the FARA Unit during 2013, as well as an in-person meeting attended by Mr. Craig on
October 9, 2013. As described in more detail in response to the next item, the government has
conducted a search of the FARA Unit’s files related to its inquiry into Skadden’s registration
obligations and has produced or is in the course of producing all documents subject to production
in this case under Rule 16 or the Jencks Act.

       We do not understand how general legal research about FARA’s legislative history is
relevant to the issues to be decided by the jury in this case—a false statements case. The
document you referenced (i.e., “research conducted by                 in the fall of 2011.”) was
not generated in relation to any evaluation of Skadden’s obligation to register under FARA for
the Tymoshenko Report. Therefore, while we can discuss this issue further, we do not believe
such document or similar documents are relevant or subject to production in this case.

       FARA documents related to Ukraine. The government has performed a search of the
physical files of the FARA Unit for documents that are potentially relevant to this case. We have
also conducted similar electronic searches of the files of relevant custodians, and we have
additional searches ongoing that we do not expect will identify any additional relevant
documents that have not already been produced—should any additional documents be located,
we will supplement our prior productions. All searches conducted for FARA Unit files have
been limited to the timeframe of December 2012 through January 2014. Relevant documents
include any communications or documents concerning Skadden’s obligation to register for its
work on behalf of Ukraine, including notes or internal correspondence among the FARA Unit, as
well as any correspondence between your client or Skadden and the FARA Unit concerning
Skadden’s obligation to register for its work on behalf of Ukraine.

       As you note, our electronic searches of the files of relevant custodians included files that
contain the word “Ukraine.” All relevant documents identified by the government through that
search have been produced or will be produced. However, we have not searched for or otherwise
attempted to locate “other” registrations or potential obligation letters between January 1, 2010,
and December 31, 2014, and we do not believe such documents are relevant or subject to
production in this case under Rule 16 or the Jencks Act. We can discuss further if you disagree.

        For your reference, the FARA Unit maintains an online database of active and terminated
registrants on its website accessible under the “Quick Search” menu item at
https://www.justice.gov/nsd-fara.

       FARA Unit production Bates numbers. As we discussed previously, we agree with
your suggestion to generate bates-stamped images with the suffixes your proposed. We would
appreciate receiving a copy of the documents with your newly applied bates numbers.



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       Case 1:19-cr-00125-ABJ Document 25-1 Filed 05/14/19 Page 14 of 20



                           talking points. Although we do not believe these documents are
relevant, we will produce a copy of what we understand to be the attachments that you requested
in your letter of May 1, 2019.

                     . We have been told by his counsel that              was in fact interviewed
by the Special Counsel’s Office, and we are in the process of attempting to locate that 302. As
soon as we get a copy, we will produce that 302 and any associated notes.

        Other witness interviews. It is our intention to provide you with all 302s in our
possession involving witness interviews related to Craig’s work on the Tymoshenko report.
While we have already produced the majority and/or the most important 302s, there are some
relevant portions of additional 302s to be produced—which should be accomplished by next
week. However, please note that as we collect all potential Jencks materials, we intend to
provide in the future additional 302s from potential trial witnesses, even if those interviews do
not relate directly to this case.

        FARA Unit production questions in letter of May 6, 2019. First, please see our
response above related to our FARA Unit search, and materials that we have not attempted to
search or locate. Otherwise, the government has not withheld from production materials from
the FARA Unit related to this case and, subject to completing the ongoing additional search we
identified above, we have produced the available FARA Unit’s documents related to this case.

                                 recording. Without waiving any relevance objections, we
produced earlier today the recording you requested.

      Gap in production numbers. We can confirm there is an unintended gap between
documents in USA-10493 and 499. The government will not produce any documents with those
numbers.

        As we discussed earlier this week, it is our intention to produce the remaining
outstanding databases and other materials discoverable under Rule 16 by next week. Please do
not hesitate to contact us if you have any additional questions.

                                            Sincerely,

                                            JESSIE K. LIU
                                            United States Attorney


                                     By:                   /s/
                                            Fernando Campoamor Sánchez
                                            Molly Gaston
                                            Assistant United States Attorneys
                                            Jason B.A. McCullough
                                            Trial Attorney, National Security Division




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       Case 1:19-cr-00125-ABJ Document 25-1 Filed 05/14/19 Page 15 of 20

                                                      U.S. Department of Justice

                                                      Jessie K. Liu
                                                      United States Attorney

                                                      District of Columbia

                                                      Judiciary Center
                                                      555 Fourth St., N.W.
                                                      Washington, D.C. 20530


                                                      May 10, 2019

Via Courier

William W. Taylor, III
William J. Murphy
Zuckerman Spaeder LLP
1800 M Street NW, Suite 1000, North Tower
Washington, DC 20036-5807

       Re:      United States v. Gregory B. Craig, 19-cr-00125 (ABJ)

Dear Counsel:

       In compliance with our discovery obligations under Rule 16 and the Federal Rules of
Criminal Procedure, please find enclosed three zip files containing documents from the Mercury
and Podesta data sets (USA-REL2-0000001 – 0146945). These are the documents that were
returned after running the agreed upon search terms with the date limitation. We will be providing
additional documents from other data sets pursuant to this search next week.

       These materials are subject to the Protective Order issued by the Court on April 15, 2019.

       If you have any questions, please do not hesitate to contact us.

                                             Sincerely,

                                             JESSIE K. LIU
                                             United States Attorney

                                     By:                    /s/
                                             Fernando Campoamor Sánchez
                                             Molly Gaston
                                             Assistant United States Attorneys
                                             Jason B.A. McCullough
                                             Trial Attorney, National Security Division

Enclosure
       Case 1:19-cr-00125-ABJ Document 25-1 Filed 05/14/19 Page 16 of 20

                                                      U.S. Department of Justice

                                                      Jessie K. Liu
                                                      United States Attorney

                                                      District of Columbia

                                                      Judiciary Center
                                                      555 Fourth St., N.W.
                                                      Washington, D.C. 20530


                                                      May 13, 2019

Via File Transfer Portal

William W. Taylor, III
William J. Murphy
Zuckerman Spaeder LLP
1800 M Street NW, Suite 1000, North Tower
Washington, DC 20036-5807

       Re:      United States v. Gregory B. Craig, 19-cr-00125 (ABJ)

Dear Counsel:

       Please find enclosed image files for the following Mercury and Podesta documents that
were inadvertently left out of the last production: (1) USA-REL2-0105928, (2) USA-REL2-
0106037, (3) USA-REL2-0139417, and (4) USA-REL2-0141249.

       These materials are subject to the Protective Order issued by the Court on April 15, 2019.

       If you have any questions, please do not hesitate to contact us.

                                             Sincerely,

                                             JESSIE K. LIU
                                             United States Attorney

                                     By:                    /s/
                                             Fernando Campoamor Sánchez
                                             Molly Gaston
                                             Assistant United States Attorneys
                                             Jason B.A. McCullough
                                             Trial Attorney, National Security Division

Enclosures
       Case 1:19-cr-00125-ABJ Document 25-1 Filed 05/14/19 Page 17 of 20

                                                      U.S. Department of Justice

                                                      Jessie K. Liu
                                                      United States Attorney

                                                      District of Columbia

                                                      Judiciary Center
                                                      555 Fourth St., N.W.
                                                      Washington, D.C. 20530


                                                      May 13, 2019

Via FedEx

William W. Taylor, III
William J. Murphy
Zuckerman Spaeder LLP
1800 M Street NW, Suite 1000, North Tower
Washington, DC 20036-5807

       Re:      United States v. Gregory B. Craig, 19-cr-00125 (ABJ)

Dear Counsel:

       In compliance with our discovery obligations under Rule 16 and the Federal Rules of
Criminal Procedure, and your previous discovery requests, please find enclosed one thumb drive
containing the following files.

       -     Documents from the                  data set (USA-REL-0368684 – 0381397). These
             are the documents that were returned after running the agreed upon search terms with
             the date limitation on the               documents.
       -     Search warrant return from Google for                       Gmail account (USA-REL-
             0381398 – 0948518)
       -     Documents from the               data set (USA-REL-0948519 – 0998689). These are
             the documents that were returned after running the agreed upon search terms with the
             date limitation on the            documents.
       -     Documents from the                       data set (USA-REL-0998690 – 1018515).
             These are the documents that were returned after running the agreed upon search terms
             with the date limitation on the                   documents.
       -     Skadden waivers (USA-REL-1018516 – 1018527)
       -                documents received from the Department of State (USA-REL-1018528 –
             1022512)

       These materials are subject to the Protective Order issued by the Court on April 15, 2019.
      Case 1:19-cr-00125-ABJ Document 25-1 Filed 05/14/19 Page 18 of 20



      If you have any questions, please do not hesitate to contact us.

                                            Sincerely,

                                            JESSIE K. LIU
                                            United States Attorney

                                    By:                    /s/
                                            Fernando Campoamor Sánchez
                                            Molly Gaston
                                            Assistant United States Attorneys
                                            Jason B.A. McCullough
                                            Trial Attorney, National Security Division

Enclosure




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       Case 1:19-cr-00125-ABJ Document 25-1 Filed 05/14/19 Page 19 of 20

                                                         U.S. Department of Justice

                                                         Jessie K. Liu
                                                         United States Attorney

                                                         District of Columbia

                                                         Judiciary Center
                                                         555 Fourth St., N.W.
                                                         Washington, D.C. 20530


                                                         May 14, 2019

Via File Transfer Portal

William W. Taylor, III
William J. Murphy
Zuckerman Spaeder LLP
1800 M Street NW, Suite 1000, North Tower
Washington, DC 20036-5807

       Re:      United States v. Gregory B. Craig, 19-cr-00125 (ABJ)

Dear Counsel:

       In compliance with our discovery obligations under Rule 16 and the Federal Rules of
Criminal Procedure, and your previous discovery requests, please find enclosed additional
discovery consisting of the following files.

       -     FTI privilege log (USA-0020883 – 0020885);
       -     FD-302, notes, and interview exhibits for the 02/05/2018 interview of
             (USA-0020886 – 0020941);
       -     FD-302s and related documents regarding the indictment and your client’s booking at
             the Washington Field Office (USA-0020942 – 0020977);
       -     FD-302s and notes regarding phone calls with                         ,       , and
                 from the FARA Unit (USA-0020978 – 0020991);
       -     Exhibits from the 08/02/2018 interview of                  (USA-0020992 – 0021009);
       -     Email from                   to himself dated 12/07/2012 with attachments (USA-
             0021010 – 0021041);
       -     Reproduction of Exhibit 6 from the 05/15-16/2018 interview of                    ,
                 , and           (USA-0015161 – 0015162); and
       -     Reproduction of Exhibit 54 from the 08/15/2018 interview of                     (USA-
             0016222 – 0016224).

       These materials are subject to the Protective Order issued by the Court on April 15, 2019.
      Case 1:19-cr-00125-ABJ Document 25-1 Filed 05/14/19 Page 20 of 20



      If you have any questions, please do not hesitate to contact us.

                                            Sincerely,

                                            JESSIE K. LIU
                                            United States Attorney

                                    By:                    /s/
                                            Fernando Campoamor Sánchez
                                            Molly Gaston
                                            Assistant United States Attorneys
                                            Jason B.A. McCullough
                                            Trial Attorney, National Security Division

Enclosures




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